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                        Exhibit 3
4/22/2021                                            Case 1:17-cv-02989-AT         Document
                                                                  National Law Journal          1084-3
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                         MOFO NEWS ITEM



                         National Law Journal Names MoFo to Its 2019 Pro Bono Hot List
                         01 May 2019




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         j             Morrison & Foerster is honored to be named to the National Law Journal’s 2019 Pro Bono Hot List. The publication
                       recognized a MoFo pro bono team that is representing Georgia voters in a federal lawsuit filed against state

         A             officials on a groundbreaking claim: that maintaining an unsecured, all-electronic voting system with no paper
                       back-up violates the right to vote.

                       MoFo’s pro bono team, led by partners David Cross, Joe Palmore, and John Carlin, filed the suit after the state
                       ignored independent researchers’ warnings — first in August 2016 and again in February 2017 — that they had
                       easily penetrated the Georgia voting system through its public website, revealing, among other things, voters’
                       identification information; election management databases used to tally, store, and report all votes; and
                       passwords for polling place supervisors.

                       The MoFo team employed a three-part strategy to defeat the state’s effort to have the case dismissed:


                       •    Narrow the case to moot defendants’ immunity defenses;

                       •    Engage the country’s leading election-integrity expert to hack a Georgia voting machine and alter the results in
                            the courtroom; and

                       •    Induce the defendants to put key election officials on the stand to defend the election system, knowing cross-
                            examination would elicit many security deficiencies in that system.

                       The strategy was a success. The federal district court rejected the immunity defenses (which the Eleventh Circuit
                       affirmed) and found that defendants had taken a “head in the sand” approach to election security, creating
                       powerful precedent for election-security challenges.

                       Reacting to the selection, David Cross said, “We appreciate this recognition of the significance of the Georgia
                       case. It is a privilege of legal practice at MoFo to be able to invest the time and resources needed for important
                       pro bono cases like this one.”

                       Over the last year, MoFo lawyers have dedicated a collective 78,000 hours of their time to pro bono matters,
                       including the following cases, also recognized in this year’s Hot List, that advanced justice from coast to coast:


                       •    Parents who care for foster children in Hawaii are receiving substantially increased stipends for their care.
                            Before we filed suit in 2013, foster care stipends had been unchanged for 25 years.

                       •    Individuals with mental disabilities or mental illness in Los Angeles—many of them homeless or close to it—no
                            longer face structural barriers when applying for General Relief benefits.

                       •    A Texas law that stigmatized women seeking abortion by requiring the burial or cremation of fetal remains was
                            enjoined.

                       •    Recipients of short-term housing subsidies in Washington, D.C., are now recognized as protected by the city’s
                            ban on “source of income” discrimination.

                       “We are extremely proud to be named to this year’s Pro Bono Hot List, which recognizes our team’s cutting-edge
                       voting rights work in Georgia as well as the firm’s ongoing commitment to pro bono,” said Jennifer K. Brown, MoFo
                       senior pro bono counsel.

                       The National Law Journal’s Pro Bono Hot List recognizes law firms that have led the charge on pro bono work with
                       broad policy, social, or financial impact; or work that has required great time and sacrifice from lawyers because of
                       their clients’ unpopularity, exposing lawyers to criticism.




https://www.mofo.com/resources/news/190501-pro-bono-hot-list.html                                                                                                     1/2
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                       View the full list and learn more about MoFo’s pro bono commitments.




                           David D. Cross
                           Partner                                                 j u



                           Joseph R. Palmore
                           Partner                                                 j u



                           Jennifer K. Brown
                           Senior Pro Bono Counsel                                 j u




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